 Case 1:19-md-02875-RMB-SAK                          Document 2829          Filed 09/05/24     Page 1 of 16 PageID:
                                                          104654



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                                                       September 5, 2024

     VIA ECF

     Honorable Renée Marie Bumb                                        Honorable Thomas I. Vanaskie (Ret.)
     United States District Court                                      Special Master
     Mitchell H. Cohen Building and                                    Stevens & Lee
     U.S. Courthouse                                                   1500 Market St., East Tower,
     Courtroom 3D                                                       Suite 1800
     4th and Cooper Streets                                            Philadelphia, Pennsylvania 19103
     Camden, New Jersey 0810

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Chief Judge Bumb and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of the September 9,

     2024 case management conference.

                1. Trial brief issues to be agreed and/or decided by the Court.

                Plaintiffs have reviewed the trial brief issues, the status of which is as follows:

                           1. Maggie Kong Should Be Precluded From Testifying

                           Decision needed
Case 1:19-md-02875-RMB-SAK     Document 2829   Filed 09/05/24   Page 2 of 16 PageID:
                                    104655

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 2


             2. Jinsheng Lin, Ph.D Should Be Precluded From
             Testifying

             Decision needed

             3. Defendants Should Be Compelled to Produce
             Requested Financial Information Related to Punitive
             Damages

             Sent to Judge Vanaskie and pending current meet and
             confer

             4. The Court Should Preclude Defendants from Calling
             John Ruiz at Trial and Should Quash any Subsequent
             Subpoenas Issued by Defendants

             No decision needed, as Defendants withdrew this
             subpoena.

             5. Plaintiffs Should Be Allowed to Call Greg Cowhey If
             Necessary

             No decision needed pending decision and/or meet and
             confer on Issue 3 above.

             6. Plaintiffs Should Be Permitted to Call Witnesses
             Confirming Defendants’ Pre-Suit Notice If Necessary

             Moot, as the Court granted Plaintiffs summary judgment
             on this issue.

             7. Plaintiffs Should Be Allowed to Call James
             MacDonald if Necessary to Address Defendants’
             Hearsay Objections to His Email Exchange with
             Charles Wang
Case 1:19-md-02875-RMB-SAK      Document 2829     Filed 09/05/24   Page 3 of 16 PageID:
                                     104656

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 3


             No decision needed, as this was addressed during the
             MILs.

             8. Retailer Defendants Should Not Be Permitted to
             Object to Testimony, as They Are Not Parties to the
             Trial

             Decision needed

             9. Plaintiffs Can Present the Testimony of Jucai Ge,
             Hai Wang, and Other Witnesses by Video Deposition
             Designations

             Addressed during MIL arguments, to be further discussed
             in the context of the trial schedule.

             10. Dr. Hecht and Other Experts Should Not Be
             Subjected to Unreasonable Questioning on Cross-
             Examination

             Decision needed

             11. This Trial Does Not Require the Jury to Assess Any
             “Translating Mechanism”

             Decision needed.

             12. Defendants’ Request        for     Additional     MSP
             Assignment Documents

             Assignment issue to be addressed by Court based on
             ongoing discussions and narrowing of issue.

             13. Defendants’ Request to Present Non-Responsive
             Answers to Deposition Questions
Case 1:19-md-02875-RMB-SAK        Document 2829      Filed 09/05/24   Page 4 of 16 PageID:
                                       104657

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 4


               Sent to Judge Vanaskie in the context of deposition
               designations

               14. Defendants’ Request to Preclude Testimony of
               Wholesaler and Retailer Witnesses

               Decision needed

               15. Plaintiffs’ Rule 37 Motion Regarding Baohua Chen

               Has been decided already

  (See ECF 2682, 2681). Plaintiffs will be prepared to argue the issues requiring

  decisions during the CMC.

        2. Confirmation of travel plans and visas for Defendants’ proposed
           witnesses, and status of translators.

        Defendants have notified Plaintiffs of the witnesses they intend to bring live

  to the trial, but they have not definitively confirmed their availability pending

  Plaintiffs’ decision on how to present their case. For example, ZHP has indicated

  that most of the witnesses it intends to bring live require travel visas but has not

  provided confirmation that they have been obtained. Plaintiffs need to plan and

  prepare for trial and should not be required to wait further for this confirmation.

        Additionally, Plaintiffs need confirmation from Defendants that Defendants

  have secured translators for all of their non-English speaking witnesses, and the
Case 1:19-md-02875-RMB-SAK        Document 2829      Filed 09/05/24   Page 5 of 16 PageID:
                                       104658

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 5

  names and credentials of the translators such that the parties can meet and confer

  well in advance of trial should there be any objections.

        3. Trial schedule and planning.

        Plaintiffs have significant concerns that the trial schedule discussed at the July

  2024 CMC cannot be fairly administered. Plaintiffs are preparing to present cases

  against three multi-national generic drug manufacturers on multiple claims, and

  cannot do so in the time currently provided. Based on the analysis of the time it will

  take to present the witnesses, and the limited time for presentation of the case during

  the trial day (9-2 each day), and the defense’s position that they each need adequate

  time to put on their defenses, 3.5 weeks simply is not enough time.

        The prior estimate of about 4 weeks to try the case was made based on the

  state of affairs well before the March 2024 trial setting that was adjourned. It was

  based in large part on the expectation that Plaintiffs would be permitted to present

  video deposition designations, and was conditioned on the possibility that depending

  on the outcome of the MILs, more than four weeks could and would likely be needed.

  Now, with the Court’s preference for live testimony in play, and the denial of certain

  MILs and dispositive motions that would have truncated the trial if granted, and

  understanding the case at a far more detailed level due to the extensive ongoing
Case 1:19-md-02875-RMB-SAK        Document 2829      Filed 09/05/24   Page 6 of 16 PageID:
                                       104659

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 6

  preparation, it is apparent that more time will be needed. This is very problematic

  in light of the conflicts of all three lead defense attorneys in early December 2024.

  Plaintiffs have already prepared for trial once and incurred significant expenses due

  to the postponement and under no circumstances should the risk of disruption of this

  trial be increased by the combination of the defense attorneys’ conflicts and the tight

  time frame currently planned for the trial.

        In this connection, in an effort to make the trial more streamlined and efficient,

  Plaintiffs have continued to cut down their proposed deposition designations, taking

  to heart the Court’s statement during the July 2024 CMC that if the videos are not

  too long, the Court will entertain Plaintiffs’ request to be permitted to use the video

  rather than live testimony. Unfortunately, the Defendants have not been amenable.

  In fact, ZHP has refused to discuss the cut down designations for witnesses it says it

  is bringing to Court live, despite the Court’s statement that if not too long, they may

  be permitted. ZHP’s attitude towards this issue was demonstrated in its letter dated

  August 2, 2024, in which ZHP pointed out the witnesses it planned to call live and

  advised Plaintiffs that the witnesses selected by ZHP were sufficient for Plaintiffs to

  put in their case—neglecting to include important 30(b)(6) witnesses and the former

  Vice Chairman of ZHP in the list. (Ex. 1 hereto). The defense clearly sees this issue
Case 1:19-md-02875-RMB-SAK        Document 2829      Filed 09/05/24   Page 7 of 16 PageID:
                                       104660

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 7

  as being an issue of strategic importance, not a matter of efficiency. In fact, it is

  likely that some or all of the proposed live witnesses will not even be called by the

  defense if they are required to call the witnesses in the defense case, rather than

  inserting their questioning into Plaintiffs’ case and severely damaging the continuity

  of Plaintiffs’ case.

         In summary, the Parties need to know that the trial will start as scheduled, and

  then continue to verdict, whether that takes 3 or 4 weeks, or longer, depending on

  the circumstances. One potential solution is to start the trial earlier than currently

  planned, with all Parties committing to finish the trial regardless of other cases and

  conflicts (other than what cannot be foreseen or planned for). This is across the

  board, applicable to all Parties. We look forward to discussing and working through

  this important issue.

         4. Jury selection process/status of questionnaire.

         The Parties have met and conferred on the jury questionnaire. Plaintiffs have

  attached a redlined copy showing the disputes and will be prepared to address these

  issues and the jury selection process more generally during the CMC. (Ex. 2 hereto).
Case 1:19-md-02875-RMB-SAK         Document 2829      Filed 09/05/24   Page 8 of 16 PageID:
                                        104661

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 8



           5. Trial management issues, including paper or electronic exhibits,
              sidebars, rooms to work in at the courthouse.

           Plaintiffs look forward to discussing the Court’s favored procedures for the

  conduct of the trial, in order to meet the Court’s expectations and conduct an efficient

  trial.

           6. Status of punitive damages financial disclosures issue.

           The Parties are continuing to meet and confer on punitive damages

  discovery/information and will provide the Court ordered update tomorrow.

           7. ZHP’s request to add new expert.

           The Parties have submitted letters on this request. (ECF 2818, 2820).

  Plaintiffs will be prepared to discuss this issue during the CMC.

           8. Status of MSP assignment issue.

           As the Court is aware, MSP filed a motion in limine asking the Court to “issue

  a blanket order precluding [] any other arguments or evidence that would similarly

  attack MSP, or highlight MSP’s status as an assignee.” (ECF 2648-1 at 50-52). This

  was necessary to avoid a distracting sideshow about MSP and its assignments, with

  the hope of diverting the jury from the actual justiciable issue—Defendants’

  manufacture and sale of contaminated valsartan medication—and siphoning
Case 1:19-md-02875-RMB-SAK        Document 2829      Filed 09/05/24   Page 9 of 16 PageID:
                                       104662

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 9

  valuable trial time to a non-issue, which also implicates the trial schedule issue

  discussed above.

        At the July 23, 2024 hearing, the Court ruled that “you can talk about who

  MSP is, but it's not going to be in sort of a character assassination about these types

  of assignments . . . . We’re not going to go there.” (July 23, 2024, Hr. Tr. 249:6-13).

  The Court then told Defendants that they “are going to have to show me why in good

  faith you can’t stipulate to these assignments.” (Id. 250:8-10). Defendants responded

  that they couldn’t stipulate because “the consideration is absent from the

  assignments that were produced.” (Id. 250:14-16). “They’ve got to provide their

  consideration. If they can do that, maybe we can reach a stipulation.” (Id. at 251:6-

  7).

        The Court referred the issue to Judge Vanaskie, the parties submitted two

  additional rounds of briefing [ECF 2789; 2790; 2800; 2807], Judge Vanaskie held

  two hearings, and on August 26, 2024, MSP produced unredacted versions of the

  assignment purchase agreements to defendants. That should have ended the issue or

  at least narrowed it to the only question at this point—should the jury know the

  amount of the consideration (not relevant to the claims or dispositive of any issue),

  and what should the jury be told on this subject, if anything.
Case 1:19-md-02875-RMB-SAK       Document 2829     Filed 09/05/24   Page 10 of 16 PageID:
                                       104663

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 10

        Yet, on September 4, 2024, Defendants informed plaintiffs that as long as

  MSP can “substantiate” that the lump sum consideration was paid, the only “issue

  remaining between the parties as to consideration is the admissibility of the amount

  of consideration at trial.” (Ex. 3 hereto). Defendants then broadened the issue, and

  asserted that they still intended to raise other issues related to the assignments at

  trial, such as “whether the claims asserted here have been properly assigned to the

  MSP entity named as plaintiff in this case.” Id. According to Defendants, “Emblem

  and SummaCare claims were assigned to subsidiary MSP Series LLCs and were also

  subject to certain carve-outs the scope of which are unclear on the face of the

  assignment documents. It remains the TPP Trial Defendants’ position that MSP still

  needs to prove up how the assignments give the MSP entity named as plaintiff in

  this case the ability to assert the Emblem and SummaCare claims asserted.” Id.

        In other words, Defendants hope to require a distracting and time-consuming

  side show trial about the assignments, the amount paid for their consideration,

  whether the consideration was actually paid, and whether the claims were properly

  assigned. The Court should grant MSP’s motion in limine and exclude that irrelevant

  and unduly prejudicial argument and focus the trial on the issues actually in dispute,
Case 1:19-md-02875-RMB-SAK         Document 2829      Filed 09/05/24   Page 11 of 16 PageID:
                                         104664

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 11

  since the Defendants are unwilling to reach a reasonable stipulation or withdraw this

  issue.

           There is no reason for the jury to be informed as to the amount paid as

  consideration. It’s simply irrelevant; the adequacy of consideration should not

  ordinarily be questioned:

                 Strictly speaking, the adequacy of a consideration is
                 not a question for judicial determination at all. That is
                 a thing for the parties to settle. Upon this point of legal
                 theory the law has never wavered. “If a person chooses
                 to make an extravagant promise for an inadequate
                 consideration, it is his own affair.”

  Affiliated Enterprises v. Waller, 40 Del. 28, 5 A.2d 257, 260 (Del. Super. Ct. 1939)

  (citing Holdsworth, Hist.Eng. Law, 17; Sturlyn v. Albany, Cro.Eliz. 67) (emphasis

  added).

           It is also unduly prejudicial because it will distract the jury from the actual

  issue (Defendants’ manufacture and sale of contaminated valsartan) and may lead

  the jury to believe that MSP isn’t deserving of a recovery because it didn’t pay

  “enough” for the claims.

           The same holds true for Defendants’ insistence that MSP “prove” that the

  consideration was actually paid. Of course it was. MSP’s corporate representative

  testified that it was paid. Lopez Dep. Tr. 102:15-19; 116:5-12 [ECF 2800-9]. And
Case 1:19-md-02875-RMB-SAK       Document 2829     Filed 09/05/24   Page 12 of 16 PageID:
                                       104665

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 12

  the assignors have actively participated in this litigation, demonstrating that they

  received value for the claims that they assigned. See ECF 2800 at 10. This is nothing

  more than an attempt to distract from the actual trial issues. Does the defense want

  to see the wire transfer documents? What are they looking for?

        Finally, Defendants raise the new issue of whether the “claims asserted here

  have been properly assigned to the MSP entity named as plaintiff in this case.” But

  Judge Kugler already ruled that MSP’s status as an assignee “was not contested,”

  and Defendants never moved for reconsideration of that order. (ECF 2657 at 9).

  Defendants also never challenged whether the claims were properly assigned in their

  motion to dismiss [ECF. 520-3], in their answers [ECF 2548 at 11-12; 2547 at 41-

  44; 2549 at 4], in their motions for summary judgment [ECF 2562-1; 2564-1; 2565-

  1; 2567-1; 2570-1], in their trial brief [ECF 2681], or at the July 23, 2024 hearing,

  where the Court asked why Defendants’ couldn’t stipulate to the assignments. This

  is an afterthought.

        The Court should not permit trial by ambush, or permit the trial to be clogged

  with an issue that is not an issue. Nor should it permit Defendants to make irrelevant

  and baseless arguments as to MSP’s assignments—confusing the issues, distracting

  the jury, and wasting precious trial time. The new issues that Defendants raise are
Case 1:19-md-02875-RMB-SAK       Document 2829      Filed 09/05/24   Page 13 of 16 PageID:
                                       104666

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 13

  meritless. As the Eleventh Circuit has found, “[n]othing in the record suggests that

  MSPRC’s relationships with its series LLCs preclude MSPRC from asserting those

  series LLCs’ rights.” MSP Recovery Claims, Series LLC v. ACE Am. Ins. Co., 974

  F.3d 1305, 1319–20 (11th Cir. 2020). MSP also maintains lists from its assignors

  specifying what claims are carved out and not assigned. The Court should grant

  MSP’s motion in limina with respect to the assignments.

        9. Proposed modification of CMO #32 to add express warranty subclass
           A to trial.

        In light of the Court’s March 26, 2024 Summary Judgment Opinion (ECF

  2694) finding express warranty “notice” requirements satisfied as a matter of law,

  Plaintiffs propose modifying CMO 32 to add the Express Warranty Subclass Group

  “a” states to this bellwether class TPP trial. Based on the applicable substantive laws

  and the factual issues remaining for the jury, Plaintiffs believe adding Express

  Warranty Subclass Group “a” to be workable and that this proposed addition will

  advance the efficient resolution of the litigation. No liability evidence is subject to

  change. MSP through its two assignors (Emblem and SummaCare) paid for at-issue

  VCDs in numerous of the jurisdictions comprising Express Warranty subclass “a”

  and will continue to serve as the class representative at trial for these claims. Also,

  Plaintiffs do not understand that there will be any prejudice to the defendants
Case 1:19-md-02875-RMB-SAK       Document 2829      Filed 09/05/24   Page 14 of 16 PageID:
                                       104667

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 14

  regarding the presentation of damages. Defendants have long been in possession of

  Dr. Conti’s entire damages analysis for all legal claims, jurisdictions, defendants,

  and states, and have had multiple opportunities to depose Dr. Conti regarding her

  damages calculations. In addition, Defendants’ damages experts (Dr. Stiroh and Mr.

  Gibson) are critique-only experts, and thus none of their opinions are subject to any

  modification. Plaintiffs believe the only material changes will be to jury instructions

  and verdict forms, which are not due for some time.

        10. Status of MIL Orders.

        The Parties have met and conferred on their respective proposed orders, but

  they still have significant disagreements on the content of those orders. Plaintiffs

  have attached redlines of the proposed orders showing the disputes and will be

  prepared to discuss them during the CMC. Exhibit 4 is the proposed order on

  Plaintiffs’ proposed MILs, with Defendants’ counter proposals in red and blue and

  Plaintiffs’ responses in green, unless explicitly differentiated with headings. Exhibit

  5 is the proposed order on ZHP’s MILs, with Plaintiffs’ counter proposals in green.

  Exhibit 6 is the proposed order on Teva’s MILs, with Plaintiffs’ counter proposals

  in blue. Exhibit 7 is the agreed upon order for Torrent’s MILs.
Case 1:19-md-02875-RMB-SAK       Document 2829      Filed 09/05/24   Page 15 of 16 PageID:
                                       104668

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 15

        11. Deposition Designations.

        Plaintiffs request the scheduling of an initial hearing date to present the

  objections to the designations for 2-3 ZHP witnesses to begin the process, gain the

  Court’s guidance, and hopefully streamline further disputes or remove them

  altogether.

        12. ZHP sanctions payment.

        Plaintiffs were awarded monetary sanctions against ZHP in the amount of

  $309,130 in attorneys’ fees and $41,399.20 in costs for time spent litigating the

  Baohua Chen deposition and missing document production issues. Plaintiffs

  understand that these funds are for reimbursement of common benefit time, not for

  work on any specific individual plaintiff’s case. As such, Plaintiffs intend to present

  a motion to the Court to designate the awarded fees and expenses as common benefit

  reimbursement, to be utilized by the Plaintiffs’ Executive Committee for the

  common benefit of all plaintiffs.

        13. Common Benefit Order.

        Plaintiffs will be submitting a motion and proposed common benefit order to

  set the percentages so that the settlements reached to date, and any future recoveries,

  will be implemented with the common benefit percentages in place.
Case 1:19-md-02875-RMB-SAK         Document 2829       Filed 09/05/24     Page 16 of 16 PageID:
                                         104669

  Honorable Renée Marie Bumb, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  September 5, 2024
  Page 16

         14. Pharmacy testimony regarding selling adulterated products.

         As indicated in Plaintiffs’ Trial Brief, the pharmacies have refused to produce

  their witnesses live at trial, as they are not parties to the trial, and their witnesses live

  further than 100 miles away. To that end, Plaintiffs have designated extremely short

  sections of the depositions, which each touch on the issue of whether (1) pharmacies

  will sell an adulterated product, and (2) whether they would have sold the VCDs had

  they known the drugs were contaminated. The pharmacy defendants contend that

  only experts may testify about adulteration, but this argument misses the point. The

  testimony designated by Plaintiffs does not ask the witnesses to opine on whether

  the drugs were adulterated. Instead, the testimony merely asks the witnesses to

  testify to their own contracts and internal policies about selling adulterated products.

  Surely these fact witnesses, each of which was presented as a 30(b)(6) witness for

  their respective companies, are qualified to testify to the contents of their companies

  policies, procedures, and contracts about selling adulterated products.

                                     Respectfully,



                                     ADAM M. SLATER

  Cc: All counsel of record (via ECF)
